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                     IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION


   UNITED STATES OF AMERICA                                             PLAINTIFF

               v.          Criminal NO. 07-50033-003

   FRANCISCO PERALTA                                                    DEFENDANT

                                       O R D E R

         Now   on   this   7th   day   of   September,    2007,    comes   on     for

   consideration the government's Motion To Dismiss (document #59),

   and the Court, being well and sufficiently advised, finds that

   said motion should be, and same hereby is, granted, and the

   Indictment against Francisco Peralta in this matter is hereby

   dismissed without prejudice.

         IT IS SO ORDERED.

                                              /s/ Jimm Larry Hendren
                                            JIMM LARRY HENDREN
                                            UNITED STATES DISTRICT JUDGE
